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AF Approval “4

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

Chief Approval

UNITED STATES OF AMERICA

a CASE NO.&: (4-CF-4Q4-1-35 CPT
TERESA JOHNSON

PLEA AGREEMENT

Pursuant to Fed. R. Crim. P. 11(c), the United States of America, by
Maria Chapa Lopez, United States Attorney for the Middle District of
Florida, and the defendant, Teresa Johnson, and the attorney for the
defendant, Adam Allen, mutually agree as follows:

A, Particularized Terms

1. Count Pleading To

The defendant shall enter a plea of guilty to Count One of the
Information. Count One charges the defendant with conspiracy to commit
health care fraud, in violation of 21 U.S.C. § 1349.

Zz. Maximum Penalties

Count One carries a maximum sentence of ten years
imprisonment, a fine of up to $250,000.00, a term of supervised release of not
more than three years, and a special assessment of $100. With respect to

certain offenses, the Court shall order the defendant to make restitution to any

 
 

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victim of the offense(s), and with respect to other offenses, the Court may
order the defendant to make restitution to any victim of the offense(s), or to
the community, as set forth below.

3. Elements of the Offense

The defendant aeinamiddaes understanding the nature and
elements of the offense with which defendant has been charged and to which
defendant is pleading guilty. A charge of conspiracy to commit health care
fraud, in violation of 18 U.S.C. § 1349, requires the United States to prove the
following elements beyond a reasonable doubt:

First: two or more persons, in some way or manner, agreed to
try to accomplish a common and unlawful plan to commit

health care fraud, as charged in the indictment; and

Second: the Defendant knew the unlawful purpose of the plan and
willfully joined in it.

4. Indictment Waiver
Defendant will waive the right to be charged by way of
indictment before a federal grand jury.
2, Guidelines Sentence
Pursuant to Fed. R. Crim. P. 11(c)(1)(B), the United States will
recommend to the Court that the defendant be sentenced within the

defendant’s applicable guidelines range as determined by the Court pursuant

to the United States Sentencing Guidelines, as adjusted by any departure the

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United States has agreed to recommend in this plea agreement. The parties
understand that such a recommendation is not binding on the Court and that,
if it is not accepted by this Court, neither the United States nor the defendant
will be allowed to withdraw from the plea agreement, and the defendant will
not be allowed to withdraw from the plea of guilty.
6. No Further Charges
If the Court accepts this plea agreement, the United States
Attorney's Office for the Middle District of Florida agrees not to charge
defendant with committing any other federal criminal offenses known to the
United States Attorney's Office at the time of the execution of this agreement,
related to the conduct giving rise to this plea agreement.
hh Acceptance of Responsibility - Three Levels
At the time of sentencing, and in the event that no adverse
information is received suggesting such a recommendation to be unwarranted,
the United States will recommend to the Court that the defendant receive a
two-level downward adjustment for acceptance of responsibility, pursuant to
USSG §3E1.1(a). The defendant understands that this recommendation or
request is not binding on the Court, and if not accepted by the Court, the

defendant will not be allowed to withdraw from the plea.

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Further, at the time of sentencing, if the defendant's offense level
prior to operation of subsection (a) is level 16 or greater, and if the defendant
complies with the provisions of USSG §3E1.1(b) and all terms of this Plea
Agreement, including but not limited to, the timely submission of the financial
affidavit referenced in Paragraph B.5., the United States agrees to file a motion
pursuant to USSG §3E1.1(b) for a downward adjustment of one additional
level. The defendant understands that the determination as to whether the
defendant has qualified for a downward adjustment of a third level for
acceptance of responsibility rests solely with the United States Attorney for the
Middle District of Florida, and the defendant agrees that the defendant cannot
and will not challenge that determination, whether by appeal, collateral attack,
or otherwise.

8. Low End

At the time of sentencing, and in the event that no adverse
information is received suggesting such a recommendation to be unwarranted,
the United States will not oppose the defendant’s request to the Court that the
defendant receive a sentence at the low end of the applicable guideline range,
as calculated by the Court. The defendant understands that this
recommendation or request is not binding on the Court, and if not accepted by

the Court, the defendant will not be allowed to withdraw from the plea.

   

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9. Cooperation - Substantial Assistance to be Considered

Defendant agrees to cooperate fully with the United States in the
investigation and prosecution of other persons, and to testify, subject to a
prosecution for perjury or making a false statement, fully and truthfully before
any federal court proceeding or federal grand jury in connection with the
charges in this case and other matters, such cooperation to further include a
full and complete disclosure of all relevant information, including production
of any and all books, papers, documents, and other objects in defendant's
possession or control, and to be reasonably available for interviews which the
United States may require. If the cooperation is completed prior to
sentencing, the government agrees to consider whether such cooperation
qualifies as "substantial assistance" in accordance with the policy of the United
States Attorney for the Middle District of Florida, warranting the filing of a
motion at the time of sentencing recommending (1) a downward departure
from the applicable guideline range pursuant to USSG §5K1.1, or (2) the
imposition of a sentence below a statutory minimum, if any, pursuant to 18
U.S.C. § 3553(e), or (3) both. If the cooperation is completed subsequent to
sentencing, the government agrees to consider whether such cooperation
qualifies as "substantial assistance" in accordance with the policy of the United

States Attorney for the Middle District of Florida, warranting the filing of a

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motion for a reduction of sentence within one year of the imposition of
sentence pursuant to Fed. R. Crim. P. 35(b). In any case, the defendant
understands that the determination as to whether "substantial assistance" has
been provided or what type of motion related thereto will be filed, if any, rests
solely with the United States Attorney for the Middle District of Florida, and
the defendant agrees that defendant cannot and will not challenge that
determination, whether by appeal, collateral attack, or otherwise.
10. Use of Information - Section 1B1.8
Pursuant to USSG §1B1.8(a), the United States agrees that no
self-incriminating information which the defendant may provide during the
course of defendant's cooperation and pursuant to this agreement shall be used
in determining the applicable sentencing guideline range, subject to the
restrictions and limitations set forth in USSG §1B1.8(b).
11. Cooperation - Responsibilities of Parties
a. The government will make known to the Court and other
relevant authorities the nature and extent of defendant's cooperation and any
other mitigating circumstances indicative of the defendant's rehabilitative
intent by assuming the fundamental civic duty of reporting crime. However,

the defendant understands that the government can make no representation

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that the Court will impose a lesser sentence solely on account of, or in
consideration of, such cooperation.

b. It is understood that should the defendant knowingly
provide incomplete or untruthful testimony, statements, or information
pursuant to this agreement, or should the defendant falsely implicate or
incriminate any person, or should the defendant fail to voluntarily and
unreservedly disclose and provide full, complete, truthful, and honest
knowledge, information, and cooperation regarding any of the matters noted
herein, the following conditions shall apply:

(1) The defendant may be prosecuted for any perjury or
false declarations, if any, committed while testifying pursuant to this
agreement, or for obstruction of justice.

(2) The United States may prosecute the defendant for
the charges which are to be dismissed pursuant to this agreement, if any, and
may either seek reinstatement of or refile such charges and prosecute the
defendant thereon in the event such charges have been dismissed pursuant to
this agreement. With regard to such charges, if any, which have been
dismissed, the defendant, being fully aware of the nature of all such charges
now pending in the instant case, and being further aware of defendant's rights,

as to all felony charges pending in such cases (those offenses punishable by

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imprisonment for a term of over one year), to not be held to answer to said
felony charges unless on a presentment or indictment of a grand jury, and
further being aware that all such felony charges in the instant case have
heretofore properly been returned by the indictment of a grand jury, does
hereby agree to reinstatement of such charges by recision of any order
dismissing them or, alternatively, does hereby waive, in open court,
prosecution by indictment and consents that the United States may proceed by
information instead of by indictment with regard to any felony charges which
may be dismissed in the instant case, pursuant to this plea agreement, and the
defendant further agrees to waive the statute of limitations and any speedy
trial claims on such charges.

(3) The United States may prosecute the defendant for
any offenses set forth herein, if any, the prosecution of which in accordance
with this agreement, the United States agrees to forego, and the defendant
agrees to waive the statute of limitations and any speedy trial claims as to any
such offenses.

(4) The government may use against the defendant the
defendant's own admissions and statements and the information and books,
papers, documents, and objects that the defendant has furnished in the course

of the defendant's cooperation with the government.

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(5) The defendant will not be permitted to withdraw the
guilty pleas to those counts to which defendant hereby agrees to plead in the
instant case but, in that event, defendant will be entitled to the sentencing
limitations, if any, set forth in this plea agreement, with regard to those counts
to which the defendant has pled; or in the alternative, at the option of the
United States, the United States may move the Court to declare this entire
plea agreement null and void.

8. Forfeiture of Assets

The defendant agrees to forfeit to the United States immediately
and voluntarily any and all assets and property, or portions thereof, subject to
forfeiture, pursuant to 18 U.S.C. § 982(a)(7), whether in the possession or
control of the United States, the defendant or defendant's nominees. The
assets to be forfeited specifically include, but are not limited to, an order of
forfeiture in the amount of proceeds the defendant obtained as the result of the
commission of the offense(s) to which the defendant is pleading guilty, which
will be established at or before sentencing. The defendant acknowledges and
agrees that: (1) the defendant obtained this amount as a result of the
commission of the offense(s), and (2) as a result of the acts and omissions of
the defendant, the proceeds have been transferred to third parties and cannot

be located by the United States upon the exercise of due diligence. Therefore,

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the defendant agrees that, pursuant to 21 U.S.C. § 853(p), the United States is
entitled to forfeit any other property of the defendant (substitute assets), up to
the amount of proceeds the defendant obtained, as the result of the offense(s)
of conviction. The defendant further consents to, and agrees not to oppose,
any motion for substitute assets filed by the United States up to the amount of
proceeds obtained from commission of the offense(s). The defendant agrees
that forfeiture of substitute assets as authorized herein shall not be deemed an
alteration of the defendant's sentence.

The defendant also agrees to waive all constitutional, statutory,
and procedural challenges (including direct appeal, habeas corpus, or any
other means) to any forfeiture carried out in accordance with this Plea
Agreement on any grounds, including that the forfeiture described herein
constitutes an excessive fine, was not properly noticed in the charging
instrument, addressed by the Court at the time of the guilty plea, announced at
sentencing, or incorporated into the judgment.

The defendant admits and agrees that the conduct described in
the Factual Basis below provides a sufficient factual and statutory basis for the
forfeiture of the property sought by the government. Pursuant to Rule
32.2(b)(4), the defendant agrees that the preliminary order of forfeiture will

satisfy the notice requirement and will be final as to the defendant at the time

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it is entered. In the event the forfeiture is omitted from the judgment, the
defendant agrees that the forfeiture order may be incorporated into the written
judgment at any time pursuant to Rule 36.

The defendant agrees to take all steps necessary to identify and
locate all substitute assets and to transfer custody of such assets to the United
States before the defendant’s sentencing. To that end, the defendant agrees to
make a full and complete disclosure of all assets over which defendant
exercises control, including all assets held by nominees, to execute any
documents requested by the United States to obtain from any other parties by
lawful means any records of assets owned by the defendant, and to consent to
the release of the defendant’s tax returns for the previous five years. The
defendant agrees to be interviewed by the government, prior to and after
sentencing, regarding such assets. The defendant further agrees to be
polygraphed on the issue of assets, if it is deemed necessary by the United
States. The defendant agrees that Federal Rule of Criminal Procedure 11 and
USSG §1B1.8 will not protect from forfeiture assets disclosed by the defendant
as part of the defendant’s cooperation.

The defendant agrees to take all steps necessary to assist the
government in obtaining clear title to any substitute assets before the

defendant’s sentencing. In addition to providing full and complete

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information about substitute assets, these steps include, but are not limited to,
the surrender of title, the signing of a consent decree of forfeiture, and signing
of any other documents necessary to effectuate such transfers.

Forfeiture of the defendant's assets shall not be treated as
satisfaction of any fine, restitution, cost of imprisonment, or any other penalty
the Court may impose upon the defendant in addition to forfeiture.

The defendant agrees that, in the event the Court determines that
the defendant has breached this section of the Plea Agreement, the defendant
may be found ineligible for a reduction in the Guidelines calculation for
acceptance of responsibility and substantial assistance, and may be eligible for
an obstruction of justice enhancement.

The defendant agrees that the forfeiture provisions of this plea
agreement are intended to, and will, survive the defendant, notwithstanding
the abatement of any underlying criminal conviction after the execution of this
agreement. The forfeitability of any particular property pursuant to this
agreement shall be determined as if the defendant had survived, and that
determination shall be binding upon defendant’s heirs, successors and assigns
until the agreed forfeiture, including the forfeiture of any substitute assets, is

final.

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B. Standard Terms and Conditions
1. Restitution, Special Assessment and Fine

The defendant understands and agrees that the Court, in addition
to or in lieu of any other penalty, shall order the defendant to make restitution
to any victim of the offense(s), pursuant to 18 U.S.C. § 3663A, for all offenses
described in 18 U.S.C. § 3663A(c)(1); and the Court may order the defendant
to make restitution to any victim of the offense(s), pursuant to 18 U.S.C. §
3663, including restitution as to all counts charged, whether or not the
defendant enters a plea of guilty to such counts, and whether or not such
counts are dismissed pursuant to this agreement. The defendant further
understands that compliance with any restitution payment plan imposed by
the Court in no way precludes the United States from simultaneously pursuing
other statutory remedies for collecting restitution (28 U.S.C. § 3003(b)(2)),
including, but not limited to, garnishment and execution, pursuant to the
Mandatory Victims Restitution Act, in order to ensure that the defendant’s
restitution obligation is satisfied.

On each count to which a plea of guilty is entered, the Court
shall impose a special assessment pursuant to 18 U.S.C. § 3013. The special

assessment is due on the date of sentencing.

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The defendant understands that this agreement imposes no
limitation as to fine.
2 Supervised Release
The defendant understands that the offense(s) to which the
defendant is pleading provide(s) for imposition of a term of supervised release
upon release from imprisonment, and that, if the defendant should violate the
conditions of release, the defendant would be subject to a further term of
imprisonment.
3. Immigration Consequences of Pleading Guilty
The defendant has been advised and understands that, upon
conviction, a defendant who is not a United States citizen may be removed
from the United States, denied citizenship, and denied admission to the
United States in the future.
4. Sentencing Information
The United States reserves its right and obligation to report to the
Court and the United States Probation Office all information concerning the
background, character, and conduct of the defendant, to provide relevant
factual information, including the totality of the defendant's criminal activities,
if any, not limited to the count(s) to which defendant pleads, to respond to

comments made by the defendant or defendant's counsel, and to correct any

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misstatements or inaccuracies. The United States further reserves its right to
make any recommendations it deems appropriate regarding the disposition of
this case, subject to any limitations set forth herein, if any.

= Financial Disclosures

Pursuant to 18 U.S.C. § 3664(d)(3) and Fed. R. Crim. P.

32(d)(2)(A)(a1), the defendant agrees to complete and submit to the United
States Attorney's Office within 30 days of execution of this agreement an
affidavit reflecting the defendant's financial condition. The defendant
promises that her financial statement and disclosures will be complete,
accurate and truthful and will include all assets in which she has any interest
or over which the defendant exercises control, directly or indirectly, including
those held by a spouse, dependent, nominee or other third party. The
defendant further agrees to execute any documents requested by the United
States needed to obtain from any third parties any records of assets owned by
the defendant, directly or through a nominee, and, by the execution of this
Plea Agreement, consents to the release of the defendant's tax returns for the
previous five years. The defendant similarly agrees and authorizes the United
States Attorney's Office to provide to, and obtain from, the United States
Probation Office, the financial affidavit, any of the defendant's federal, state,

and local tax returns, bank records and any other financial information

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concerning the defendant, for the purpose of making any recommendations to
the Court and for collecting any assessments, fines, restitution, or forfeiture
ordered by the Court. The defendant expressly authorizes the United States
Attorney's Office to obtain current credit reports in order to evaluate the
defendant's ability to satisfy any financial obligation imposed by the Court.
6. Sentencing Recommendations

It is understood by the parties that the Court is neither a party to
nor bound by this agreement. The Court may accept or reject the agreement,
or defer a decision until it has had an opportunity to consider the presentence
report prepared by the United States Probation Office. The defendant
understands and acknowledges that, although the parties are permitted to
make recommendations and present arguments to the Court, the sentence will
be determined solely by the Court, with the assistance of the United States
Probation Office. Defendant further understands and acknowledges that any
discussions between defendant or defendant's attorney and the attorney or
other agents for the government regarding any recommendations by the
government are not binding on the Court and that, should any
recommendations be rejected, defendant will not be permitted to withdraw
defendant's plea pursuant to this plea agreement. The government expressly

reserves the right to support and defend any decision that the Court may make

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with regard to the defendant's sentence, whether or not such decision is
consistent with the government's recommendations contained herein.
7. Defendant's Waiver of Right to Appeal the Sentence

The defendant agrees that this Court has jurisdiction and
authority to impose any sentence up to the statutory maximum and expressly
waives the right to appeal defendant's sentence on any ground, including the
ground that the Court erred in determining the applicable guidelines range
pursuant to the United States Sentencing Guidelines, except (a) the ground
that the sentence exceeds the defendant's applicable guidelines range as
determined by the Court pursuant to the United States Sentencing Guidelines;
(b) the ground that the sentence exceeds the statutory maximum penalty; or (c)
the ground that the sentence violates the Eighth Amendment to the
Constitution; provided, however, that if the government exercises its right to
appeal the sentence imposed, as authorized by 18 U.S.C. § 3742(b), then the
defendant is released from his waiver and may appeal the sentence as
authorized by 18 U.S.C. § 3742(a).

8. Middle District of Florida Agreement

It is further understood that this agreement is limited to the

Office of the United States Attorney for the Middle District of Florida and

cannot bind other federal, state, or local prosecuting authorities, although this

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office will bring defendant's cooperation, if any, to the attention of other
prosecuting officers or others, if requested.
9. Filing of Agreement

This agreement shall be presented to the Court, in open court or
in camera, in whole or in part, upon a showing of good cause, and filed in this
cause, at the time of defendant's entry of a plea of guilty pursuant hereto.

10. Voluntariness

The defendant acknowledges that defendant is entering into this
agreement and is pleading guilty freely and voluntarily without reliance upon
any discussions between the attorney for the government and the defendant
and defendant's attorney and without promise of benefit of any kind (other
than the concessions contained herein), and without threats, force,
intimidation, or coercion of any kind. The defendant further acknowledges
defendant's understanding of the nature of the offense or offenses to which
defendant is pleading guilty and the elements thereof, including the penalties
provided by law, and defendant's complete satisfaction with the representation
and advice received from defendant's undersigned counsel (if any). The
defendant also understands that defendant has the right to plead not guilty or
to persist in that plea if it has already been made, and that defendant has the

right to be tried by a jury with the assistance of counsel, the right to confront

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and cross-examine the witnesses against defendant, the right against
compulsory self-incrimination, and the right to compulsory process for the
attendance of witnesses to testify in defendant's defense; but, by spain’
guilty, defendant waives or gives up those rights and there will be no trial.
The defendant further understands that if defendant pleads guilty, the Court
may ask defendant questions about the offense or offenses to which defendant
pleaded, and if defendant answers those questions under oath, on the record,
and in the presence of counsel (if any), defendant's answers may later be used
against defendant in a prosecution for perjury or false statement. The
defendant also understands that defendant will be adjudicated guilty of the
offenses to which defendant has pleaded and, if any of such offenses are
felonies, may thereby be deprived of certain rights, such as the right to vote, to
hold public office, to serve on a jury, or to have possession of firearms.
11. Factual Basis

Defendant is pleading guilty because defendant is in fact guilty.
The defendant certifies that defendant does hereby admit that the facts set
forth below are true, and were this case to go to trial, the United States would

be able to prove those specific facts and others beyond a reasonable doubt.

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Federal Health Care Programs

Medicare was a federal insurance program that provided coverage for
people 65 and older, people under 65 with certain disabilities, and people of all
ages with end-stage renal disease. Medicare was a health benefit program as
defined by 18 U.S.C. § 24(b). Individuals who received benefits under
Medicare were commonly referred to as Medicare beneficiaries. The Medicare
program was divided into different parts that provided benefits for different
areas of medical care. Part A of Medicare covered health services provided by
hospitals, skilled nursing facilities, hospices, and home health agencies. Part B
of the Medicare program covered, among other things, certain physician
services, outpatient services, and other services, including durable medical
equipment that is medically necessary and ordered by a licensed physician or
other qualified health care professionals. Part C of Medicare, commonly
referred to as Medicare Advantage plans, provided beneficiaries with all the
services provided under Parts A and B (except Hospice care), in addition to
mandatory supplemental benefits and optional supplemental benefits.
Medicare Part D provided prescription drug coverage i beneficiaries who

opted for this coverage.

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The State of Florida Medicaid Program (Medicaid) was a federal health
care benefit program that provided coverage for indigent persons, children,
and certain disabled individuals. The Medicaid program was funded through
both federal and state tax revenue. The Medicaid program, as established by
the Social Security Act, was a cooperative federal-state health-care benefit
program that enabled the states to furnish necessary medical benefits, items,
and services to certain families and individuals who were unable to meet the
costs of the benefits, items, and services. ©

The Centers for Medicare and Medicaid Services (CMS) was an agency
of the Department of Health and Human Services (HHS), and was the federal
governmental body responsible for the administration of the Medciare
program. For Medicaid, CMS, in turn, authorized each state to establish a
state agency to administer the Medicaid program component in that state. In
Florida, the Medicaid program was administered by the Florida Agency for
Health Care Administration (AHCA), which divided the state into various
operational Areas (or rate zones), to facilitate its administration of the
program.

In order to be reimbursed by Medicaid, an entity providing medical

benefits and services to Medicaid beneficiaries, the provider, first had to enter

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into a Medicaid Provider Enrollment Agreement. This Medicaid Provider
Enrollment Agreement was submitted to AHCA for approval

A National Provider Identification (NPI) number was a unique ten-digit
identification number used to cover health care providers and medical entities.
A Provider Identification Number (PIN) or Provider Transaction Access
Number (PTAN) was specific to Medicare and was issued to a health care
provider upon their enrollment with Medicare.

TRICARE was a triple option health care benefit plan of the United
States Department of Defense (DoD) Military Health System. Eligible
TRICARE beneficiaries included members of all seven branches of the
Uniformed Services: Army, Air Force, Navy, Marine Corps, National
Oceanic Atmospheric Administration, Coast Guard, and the commissioned
corps of the Public Health Service. TRICARE received federal funds allocated
through the annual DoD Appropriation Acts. A private corporation under
contract with TRICARE acted as a fiscal intermediary and was authorized to
receive and process claims for reimbursement on behalf of TRICARE. Health
care service providers were reimbursed with federal funds for benefits and
services provided to TRICARE beneficiaries.

The Civilian Health and Medical Program of the Department of

Veterans Affairs (CHAMPVA) was a comprehensive health care program in

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which VA shared the cost of covered health care services and supplies,
including medication, with eligible beneficiaries. Generally, the VA’s
CHAMPVA program covered all medically and psychologically necessary
heath care services. The program was administered by the Veterans Health
Administration Office of Community Care located in Denver, Colorado. One
of the eligible categories for CHAMPVA was the spouse or child of a veteran
who had been rated permanently and totally disabled for a service-connected
disability by a VA regional office.

Claims were submitted using the Current Procedural Terminology
(CPT) codes. CPT codes 99213 and 99214 were used to document outpatient
in-person visits for the evaluation and management of established patients.
When a nurse practitioner conducted an office visit, a modifier code should
have been used to indicate that a nurse practitioner provided the service,
instead of a doctor. The effect of using this modifying code was to reduce the
amount of reimbursement.

The Florida Clinics and Tri-County Billing

Doctor | was a licensed medical doctor who owned and operated three
clinics located in Crystal River, Spring Hill, and Celebration, Florida, within
the Middle District of Florida (hereinafter referred to as the “Florida Clinics”).

Doctor 1 owned, operated, and billed federal health care programs for services

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conducted at the Florida Clinics through a medical professional association in
Doctor 1’s name. These services included office visits, on-site radiologic tests,
including X-rays and MRIs, and other tests, including bloodwork, nerve
conduction studies and allergy tests (hereinafter referred to as “Clinic
Services”).

Doctor 1 and the Florida Clinics were issued an NPI number and a PIN
number from Medicare. Doctor 1 was also enrolled as a Florida Medicaid
Provider and so was able to submit claims to the Florida Medicaid program
for services purportedly provided to indigent or disabled persons. More than
half of Florida Clinics’ patients were Medicare, Medicaid, Tricare and/or
CHAMPVA beneficiaries. Among others, Doctor 1 hired health care
providers who were not authorized Medicare or Medicaid providers, including
certain providers who had been denied admission to or excluded from those
government health care programs (collectively referred to herein as
“Prohibited Providers”). The Prohibited Providers category specifically
included Doctor 2, a pain management doctor, and Doctor 3, a cardiologist,
who are known to the defendant and to the government.

Defendant Teresa Johnson worked for Doctor 1 at the Florida Clinics
for several years, from approximately 2010 through November 2015, with

some breaks in service, in various job positions, including administrative

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assistant, clinic manager and as a medical coder and supervisory medical
biller. During her employment at the Florida Clinics, there existed a special
studies sheet of tests and diagnosis codes that was used by Florida Clinics’
staff and health care providers to maximize the scheduling and reimbursement
for such tests and services. Johnson knew that some of these tests that were
administered at the Florida Clinics were medically unnecessary.

In and around July 2016, Johnson began working on weekends to
submit Florida Clinics’ claims for radiologic services to health care programs
for reimbursement. In or around November 2016, Johnson opened and
operated Tri-County Medical Billing (Tri-County) in the Middle District of
Florida. Doctor 1 provided financial assistance to Johnson to open Tri-
County as a separate third-party biller in order to submit claims to Medicare,
Medicaid, Tricare, CHAMPVA and other health care plans, for all Clinic
Services at the Florida Clinics. Per contract, Tri-County was paid 3% of the
collected claims, with a portion subtracted to re-pay Doctor 1 for costs
provided to start Tri-County.

The Florida Clinics utilized and paid for eClinical, an electronic health
records system, to create and maintain their health records and for purposes of
billing. Tri-County was granted access to Florida Clinics’ electronic

information, including eClinical, to submit Florida Clinics’ claims for Clinic

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Services to health care programs for reimbursement. All employees of the
Florida Clinics were directed to use eClinical for all Clinic Services and health
care records; however, the radiology department maintained wnitten logs of
Florida Clinics’ patients who received radiology services.

eClinical was set up at the direction of Doctor 1 so that all Clinic
Services would be captured and recorded. Other than radiology staff, all
Florida Clinics’ personnel utilized and logged into eClinical under the NPI
number and PIN number for Doctor | as the rendering provider, even though
other health care providers, not Doctor 1, rendered the Clinic Services. Doctor
1 specifically directed Florida Clinics and Tri-County staff to submit Florida
Clinics’ claims for Clinic Services rendered by Prohibited Providers to the
relevant health care programs falsely identifying Doctor 1 (via his NPI and
PIN), as the rendering provider (with the exception of one Medicare-approved
Florida Clinics’ podiatrist).

Johnson, who used eClinical for submitting Florida Clinics’ claims,
knew that many of the Clinic Services claims were false and fraudulent and
should not have been submitted for reimbursement to government health care
programs because the Clinic Services had not been performed by Doctor 1.
Instead, as Johnson and Doctor 1 knew, the Clinic Services were performed.

by other health care providers, including by Prohibited Providers. Johnson

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billed for these claims, as directed by Doctor 1, knowing that they were false
and fraudulent. Indeed, as directed by Doctor 1, Johnson even submitted false
and fraudulent claims for Clinic Services purportedly rendered by Doctor 1
when he was out of the country, or otherwise not physically present at the
Florida Clinics.

Johnson was also directed by Doctor 1 to submit false and fraudulent
claims for Clinic Services provided by nurse practitioners, without the required
modifier CPT code signifying that a nurse practitioner, not a doctor,
performed the Clinic Services; which increased the reimbursement amount to
the Florida Clinics and to Doctor 1.

Per Doctor 1’s directions, Johnson also submitted false and fraudulent
claims from April through August 2018, for Clinic Services provided to
Medicare and Medicaid beneficiaries by Doctor 3, who was specifically
excluded from submitting claims for any Clinic Services, directly or indirectly,
to any government health care program. These false and fraudulent claims
included billing government federal health programs for radiologic and other
tests performed at the Florida Clinics that were referred and read by the
Doctor 3. Further, per Doctor 1’s direction, Johnson also submitted claims for .

Doctor 2, who had been denied approval as a Medicaid provider.

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12. Entire Agreement

This plea agreement constitutes the entire agreement between the
government and the defendant with respect to the aforementioned guilty plea
and no other promises, agreements, or representations exist or have been
made to the defendant or defendant's attorney with regard to such guilty plea.

13. Certification

The defendant and defendant's counsel certify that this plea

agreement has been read in its entirety by (or has been read to) the defendant

and that defendant fully understands its terms.

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DATED this A day of Jou : 2018.

 

    

Teresa Johns

 

 

 

Defendant
‘Adam Allen ! @/Jay’G. Trezevant
Attorney for Defendant ( Assistant United States Attorney

Chief, Economic Crimes Section

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